       Case 3:21-cv-00497-SALM Document 1 Filed 04/09/21 Page 1 of 18




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
____________________________________
                                     :
BRITTNEY NEAL,                       :  CASE NO. 3:21-cv-497
                      Plaintiff,     :
v.                                   :
                                     :
SPECIALTY CABLE CORP.,               :
                      Defendant.     :  APRIL 9, 2021
___________________________________ :

                               NOTICE OF REMOVAL

      Defendant Specialty Cable Corp. hereby removes this action to this Court

pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, and represents:

      1.    On March 27, 2021, Plaintiff Brittney Neal commenced this civil action by

serving Defendant Specialty Cable Corp. with a summons, complaint, and statement of

amount in controversy, dated    March 17, 2021, returnable April 20, 2021, to the

Connecticut Superior Court, Judicial District of Hartford, entitled Brittney Neal v.

Specialty Cable Corp., Docket No. HHD-CV21-6140288-S (the “Superior Court Action”).

Attached hereto is a true copy of the summons, complaint, and statement of amount in

demand. (Exhibit A, SCC-0001–0009).

      2.    The summons, complaint, statement of amount in demand and return of

service were filed with the Superior Court on April 5, 2021. (See Return of Service,

Exhibit B, SCC-0010 and Superior Court Action’s docket sheet, attached as Exhibit C,

SCC-0011-0012).

      3.    Neither Defendant nor its counsel had any prior notice of the Superior

Court Action before Defendant received the summons, complaint, and statement of

amount in demand on March 29, 2021. Defendant files this Notice of Removal within 30
        Case 3:21-cv-00497-SALM Document 1 Filed 04/09/21 Page 2 of 18




days of the March 27, 2021 service of the summons, complaint and statement of

amount in demand and within 30 days of the date on which the Superior Court Action

became removable.

       4.     The ground for removal is the original jurisdiction afforded this Court under

28 U.S.C. § 1331 (federal question).

       5.     The Superior Court Action is a civil action over which this Court has

original jurisdiction pursuant to 28 U.S.C. § 1331, as Count Four, entitled “Retaliation In

Violation Of The Fair Labor Standards Act, 29 U.S.C. § 215 Et. Seq.” contains

allegations that Plaintiff was “retaliated against and terminated . . . in response to her

concerns regarding due, unpaid, and owed wages of the Fair Labor Standards Act. The

Superior Court Action is therefore removable to the United States District Court

pursuant to 28 U.S.C. § 1441(a). Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S.

691 (2003).

       6.     Plaintiff’s claims are not nonremovable claims as per 28 U.S.C. § 1445.

       7.     Promptly after the filing of this Notice of Removal, Defendant Specialty

Cable Corp. will file a copy of this Notice of Removal with the Superior Court and give

written notice thereof to Plaintiff through his counsel of record.

                                                         SPECIALTY CABLE CORP.

                                                      By: /s/ Glenn A. Duhl
                                                        Glenn A. Duhl ct03644
                                                        Zangari Cohn Cuthbertson
                                                                Duhl & Grello P.C.
                                                        59 Elm Street, Suite 400
                                                        New Haven, CT 06510
                                                        Tel.: (203) 786-3709
                                                        Fax: (203) 782-2766
                                                        gduhl@zcclawfirm.com



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                            CERTIFICATE OF SERVICE

      I hereby certify that on April 9, 2021, a copy of the foregoing Notice of Removal

was filed electronically and served on counsel for Plaintiff, Brittney Neal, Megan L.

Michaud, Esq., Cicchiello & Cicchiello, LLP, 364 Franklin Avenue, Hartford, CT 06114,

mmichaud@cicchielloesq.com, by email.

                                                      /s/ Glenn A. Duhl
                                                     Glenn A. Duhl ct03644




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                    EXHIBIT A
                                  Case 3:21-cv-00497-SALM Document 1 Filed 04/09/21 Page 5 of 18

 SUMMONS - CIVIL
 JD-CV-1       Rev.   10-15
                                                                                                                                     STATE OF CONNECTICUT                          ft
 C.G.S. §§ 51-346, 51-3◄7, 51-349, 51-350, 52-45a,
 52-48, 52-259, P.B. §§ 3-1 through 3-21, 8-1, 10-13
                                                                                                                                          SUPERIOR COURT ~
                                                                                                                                                          www.jud.ct.gov~
 See other side for Instructions

     "X" if amount, legal interest or property in demand, not including interest and
D    costs is less than $2,500.
r.;, "X" if amount, legal interest or property in demand, not including interest and
~ costs is $2,500 or more.
D         "X" if claiming other relief in addition to or in lieu of money or damages.

TO: Any proper officer; BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of
this Summons and attached Complaint.
 Address of court clerk where writ and olher papers shall be filed (Number, street. /own and zip ~e) Telephone number of clerk Return Date (Musi be a Tuesday)
 (C.G.S. §§ 51-346, 51-350)                                                                                   (with ar&a ~e)

 95 Washington Street, Hartford, CT 06106                                                                     ( 860 ) 548-2700                      April                       20 , 2 021
I ,Cl     Judicial District
                                         D                       I Al (Town in which writ is r&lumable) (C.G.S. §§ 51-346, 51-349)
                                                                                                                                                            Moncn
                                                                                                                                                    Case type code
                                                                                                                                                                              7'av       Year
                                                                                                                                                                      (See list on page 2)
n Housing Session
1.::..1                                      G.A.
                                             Number:               Hartford                                                                           Major: M              Minor: 90
 For the Plaintiff(s) please enter the appearance of:
 Name and address of attorney, law firm or plaintiff if self-represented (Number, street, town and zip ~e)
 Clcchiello & Cicchlello, LLP, 364 Franklin Avenue, Hartford, CT 06114
                                                                                                                                                  IJuris number (to /HJ entered by artomeyonly/
                                                                                                                                                   419987
 Telephone number (with Bff/8 code)                              ISignature of Plaintiff (If self-represented)
 ( 860 ) 296-3457
 The attorney or law firm appearing for the plaintiff, or the plaintiff if                                  Email address for delivery of papers under Section 10-13 (if agreed to)
 self-represented, agrees to accept papers (service) electronically in ~ Yes              D        No
 this case under Section 10-13 of the Connecticut Practice Book.                                            mmlchaud@cicchlelloesq.com

 Number of Plaintiffs: 1                          INumber of Defendants:         1
                                                                                            I     D     Form JD-CV-2 attached for additional parties
          Parties               Name (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if not USA)
           First              Name: Brittney Neal                                                                                                                                            P-01
          Plaintiff           Address: 71 Westphal St. Apt. A7, West Hartford, CT 06110

     Additional               Name:                                                                                                                                                          P-02
      Plalntlff               Address:

        First                 Name: Speclal:ri Cable Corp. 2 Tower Drive, Wallingford, CT 06492                                                                                              D-01
      Defendant               Address: Agent: rlan O'Connor 1 Atlantic St. Stamford, CT 06901

     Additional               Name:                                                                                                                                                          D-02
      Defendant               Address:

     Additional               Name:                                                                                                                                                          D-03
     Defendant                Address:

      Additional              Name:                                                                                                                                                          D-04
      Defendant               Address:

 Notice to Each Defendant
 1. YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers states the claims that each plaintiff is making
    against you in this lawsuit.
 2. To be notified of further proceedings, you or your attorney must file a form called an "Appearance" with the clerk of the above-named Court at the above
    Court address on or before the second day after the above Return Dale. The Return Date is not a hearing date. You do not have to come to court on the
    Return Dale unless you receive a separate notice telling you to come to court.
 3. If you or your attorney do not file a written "Appearance" form on time. a judgment may be entered against you by default. The "Appearance" form may be
    obtained al the Court address above or at www.jud.ct.gov under "Court Forms."
 4. If you believe that you have insurance that may cover the claim that is being made against you in this lawsuit, you should immediately contact your
    insurance representative. Other action you m have to take is described in the Connecticut Practice Book which may be found in a superior court law
    library or on-line at www.jud.ct.gov under "C rt Rules."
 5. If u have questions about I e Summons a d omplainl, you should talk to an attorney quickly. The Clerk of Court Is not allowed to give advice on
    I~ al q stlons.
                                                                                                                                             Date s,gned
                                                                                                                                             03/17/2021


 ! this u        ns I     ned      a Clerk:
    Th' si ning ha een d e so that the Plalntiff(s) will not be denied access to the courts.
    It ·k I e responsibility of the Plaintiff(s) to see that service Is made in the manner provided by law.
 c. T e lerk is not permitted to give any legal advice in connection with any lawsuit.
 d. Ttie Clerk signing this Summons at the request of the Plainliff(s) is not responsible in any way for any errors or omissions
                                                                                                                                                                 For Court Use Only
                                                                                                                                                         File Date



    in the Summons. any allegations contained In the Complaint. or the service of the Summons or Complaint.


   I certify I have read and             Signed   (Self-Represented Plaintiff)                                                Date                       Dockel Number
   understand the above:
                                                                                         (Page 1 of 2)
                                                                                                                                                             SCC - 0001
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RETURN DATE: APRIL 20, 2021                                  SUPERIOR COURT

BRITTNEY NEAL                                                J.D. OF HARTFORD

v.                                                           AT HARTFORD

SPECIALTY CABLE CORP.                                        MARCH 17, 2021

                                          COMPLAINT


         1.    The Plaintiff, Brittney Neal, (herein after the "Plaintiff') is a resident of the Town

of West Hartford, in the State of Connecticut.

         2.    The Defendant, Specialty Cable Corp. (herein after the "Defendant") is a

Connecticut corporation with a place of business located at 2 Tower Drive, Wallingford, CT

06492.

         3.    The Plaintiff was hired by the Defendant on or about June 26, 2020 as a Lab

Technician.

         4.    The Defendant produces highly engineered wire and cable products for military and

aerospace applications.

         5.    Plaintiffs duties included performing quality testing on wire cables to ensure the

cables meet certain criteria required for the Defendant's customers and that the cables are in

compliance with the AS9100, an internationally recognized Aerospace quality management

standard.

         6.    Plaintiff subsequently became a Designated Supper Quality Representative

("DSQR") and certified to specifically inspect parts for General Electric, the Defendant's

customer, to ensure the parts meet General Electric's specific quality requirements.

         7.    Throughout the course of Plaintiff's employment she came across a significant

amount of product that was failing the quality tests.



                                                                                       SCC - 0002
            Case 3:21-cv-00497-SALM Document 1 Filed 04/09/21 Page 7 of 18




        8.      In response to the significant amount of failed product discovered by Plaintiff her

Supervisor appeared upset and would attempt to find ways to send the product out to the customers

regardless of the fact it failed the quality tests.

        9.      Throughout the course of Plaintiffs employment she came across product that

reflected it had already been delivered to the customer even before undergoing the required quality

tests and ultimately turned out to be product that failed the quality tests.

        10.     Throughout the course of Plaintiff's employment she observed a Manager breath

on a product to effect the temperature so it would pass.

        11.     During Plaintiff's employment she raised concerns about the failed product that has

been sent to customers and the safety issues that could cause and potential harm to the public.

        12.     In response to Plaintiffs concerns about failed product being sent to customers she

was told that too much paperwork is required for failed product so just let it go or that the aircrafts

have so many backups that it is okay to send this failed product.

        13.     Around the end of February 2021, Plaintiff was performing her duties as a DSQR

when she attempted to obtain an original purchase order for the parts she was testing. The specific

training Plaintiff received to be certified as a DSQR required her to obtain the original purchase

order to ensure there were no modifications or notes on it.

        14.     The Defendant became irritated with Plaintiffs request for the original purchase

order and her Manager asked Plaintiff to just compromise to with Plaintiff responded she cannot

do that she is performing DSQR duties for GE and if she is not provided the original purchase

order she will fo11ow the procedure she was trained on which would require her to contact GE

directly.




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         Case 3:21-cv-00497-SALM Document 1 Filed 04/09/21 Page 8 of 18




        15.    About a week later the Defendant tenninated Plaintiff's employment on March 3,

2021.

        16.    Prior to Plaintiff's employment she also inquired with Human Resources as to why

her time card appeared to always reflect her start time as exactly 7AM on the dot or 5AM on the

dot. Plaintiff pointed out that she is fairly certain she does not always clock in right on the dot and

is in fact clocked in a few minutes early majority of the time.

        17.    Plaintiff was told by the Defendant's Human Resource employee that the company

could round the time up. Plaintiff responded that she did not think that was the case.

        18.    On Monday March 1, 2021, Plaintiff asked the Defendant's Human Resource

employee to provide Plaintiff with the time of her actual time in punches. The Defendant's Human

Resource employee seemed hesitant to provide Plaintiff with this documentation stating she did

not know if she could do that.

        19.    Plaintiff was never provided a copy of her actual time in punches and was instead

terminated two days later on March 3, 2021.

COUNT ONE:             Wrongful Termination in Violation of Conn. Gen. Stat. § 31~5lq

        1.     Paragraphs 1-15 are hereby incorporated the same as if fully pied in this First Count.

        16.    The Plaintiff spoke out as a citizen on a_matter ofpublic concern when raising issues

of safety and the sending of failed product to customers.

        17.    The concerns raised by Plaintiff did not materially interfere with her job

performance or working relationship with the Defendant.

        18.    The Defendant's termination of Plaintiff's employment is in violation of Conn.

Gen. Stat. § 31-Slq in that the Defendant terminated the Plaintiff on account of her exercise of her

free speech rights on matters of public concern and the health and safety of the public.




                                                  3                                      SCC - 0004
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         19.   As a result of the Defendant unlawful termination of the Plaintiffs employment,

the Plaintiff has suffered lost wages, lost employment benefits, and other consequential damages.

         20.   As a further result of the Defendant unlawful termination of the Plaintiffs

employment, the Plaintiff has suffered emotional distress.

         21.   As a further result of the Defendant unlawful termination of the Plaintiffs

employment, the Plaintiff has been forced to expend attorney's fees and costs to secure her rights

as guaranteed by Conn. Gen. Stat.§ 31-Slq.

COUNT TWO:             Common Law Wrongful Discharge

         1.    Paragraphs 1-15 are hereby incorporated the same as if fully pled in this Second

Count.

         16.   Military and aerospace industry suppliers, such as the Defendant, are mandated to

meet the compliance requirements of a quality management system such as AS9100.

         17.    Safety and reliability are paramount in the aerospace industry.

         18.    Public policy mandates that aerospace manufacturers and distributers face stringent

regulation in quality and reliability as failure can be catastrophic.

         19.   Defendant wrongfully discharged Plaintiff after Plaintiff complained internally

regarding the Defendant's violations of quality management.

         20.    The aforementioned conduct by the Defendant, through its agents, servants and/or

employees constitutes a violation of public policy.

         21.    As a result of her wrongful discharge by Defendant, through its agents, servants

and/employees, Plaintiff has suffered, and will continue to suffer, lost wages, benefits and bonuses.

         22.    As a result of his wrongful discharge by Defendant, through its agents, servants

and/employees, Plaintiff has suffered, and will continue to suffer, considerable emotional distress




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and psychological pain and suffering, and he has incurred legal fees and costs in order to obtain a

right to which she is entitled.

COUNT THREE:            Non-payment of Wages - Conn. Gen. Stat.§§ 31-58 et seq., 31-7la et
                        seq., and 31-76b et seq.

        1.      The Plaintiff repeats and re-alleges paragraphs 1 through 19 above, as paragraphs

1 through 19 of Count Three as if fully set forth herein.

        20.     The Defendant failed to pay the Plaintiff all of the wages she is entitled to.

        21 .    The Defendant is an employer for the purposes of Conn. Gen. Stat. §§ 31-58 et seq.,

31-71b et seq., 3 l-7le et seq., and 31-72.

        22.     Plaintiff is an employee for the purposes of Conn. Gen. Stat. §§ 31-58 et seq., 31-71 b

et seq., 31-7le et seq., and 31-72.

        23.     The Defendant intentionally failed to pay the Plaintiff all of the wages in which she is

entitled, and unlawfully and intentionally withheld the same.

        24.     The aforementioned conduct of the Defendant, in failing to pay the Plaintiffthe wages

to which she entitled, is in violation of Connecticut General Statutes §§ 31-58 et seq., 31-71 a et seq.,

and 3 l-76b et seq.

        25.     As a result of the aforementioned conduct of the Defendant, the Plaintiff has suffered

a loss of wages, overtime wages, and other damages.

        26.     As a further result of aforementioned conduct of the Defendant, the Plaintiff has been

forced to incur attorney's fees and costs in order to obtain the rights to which she is entitled.

        27.     The Plaintiff claims double wages, costs, and attorney's fees in accordance with Conn.

Gen. Stat. § 31-72.




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COUNT FOUR:            Retaliation In Violation Of The Fair Labor Standards Act, 29 U.S.C. §
                       215 Et. Seq.

       1.      The Plaintiff repeats and re-alleges paragraphs 1 through 19 above, as paragraphs

1 through 20 of Count Four, as if fully set forth herein.

       20.     Defendant retaliated against and tenninated Plaintiff in response to her concerns

regarding due, unpaid, and owed wages of the Fair Labor Standards Act.

       21.     As a result of the aforementioned unlawful conduct of Defendant, Plaintiff has

incurred lost wages, costs, expenses, attorneys' fees, and other consequential losses and damages.

       22.     As a further result of the Defendant's unlawful conduct, Plaintiff has been deprived

of the benefit of gainful employment.



                                                       THE PLAINTIFF,
                                                       BRITTNEY NEAL


                                                                                            _(j
                                                            f
                                                            I   ;


                                                       By:/ I        -~
                                                       Me           J!,. Michaud, E&   .
                                                       c{cc.HJELLO & CICCHIELLO, LLP
                                                       364!Franklin Avenue
                                                       Hartford, CT 06114
                                                       Phone: (860) 296-3457
                                                       Fax: (860) 296-0676
                                                       Juris: 419987
                                                       Email: MMichaud@cicchielloesg.com




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RETURN DATE: APRIL 20, 2021                                  SUPERIOR COURT

BRITTNEY NEAL                                                J.D. OF HARTFORD

V.                                                           AT HARTFORD

SPECIALTY CABLE CORP.                                        MARCH 17, 2021


                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff request that the Court assume jurisdiction over this matter

and provide him with the following relief:

       1.      Monetary damages;

       2.      reinstatement or front pay;

       3.      Double damages and attorney's fees and costs pursuant to Conn. Gen. Stat. §31-72;

       4.      unpaid wages;

       5.      Liquidated damages pursuant to the Fair Labor Standards Act;

       6.      Punitive damages pursuant to the Fair Labor Standards Act; and

       7.      such other relief as the court deems just and appropriate.




                                                     THE PLAINTIFF,
                                                     BRITTNEY NEAL


                                                     Byf
                                                     M/g----,.,"T--.M-ic-h--r--r-d,-.--j--
                                                     G(cc LLO & CICCHIELLO, LLP
                                                     364 ranklin Avenue
                                                     Hartford, CT 06114
                                                     Phone: (860) 296-3457
                                                     Fax: (860) 296-0676
                                                     Juris:419987
                                                     Email: MMichaud@cicchielloesq.com



                                                 7                                      SCC - 0008
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RETURN DATE: APRIL 20, 2021                                  SUPERIOR COURT

BRITTNEY NEAL                                                J.D. OF HARTFORD

v.                                                           AT HARTFORD

SPECIALTY CABLE CORP.                                        MARCH 17, 2021


                          STATEMENT OF AMOUNT IN DEMAND

         The Plaintiff claims the amount of demand in excess of $15,000.00 exclusive of interest and

costs.



                                                       THE PLAINTIFF,
                                                       BRITTNEY NEAL


                                                      By:         /
                                                      Megan L. M. haud, sq.
                                                      CIC~HIELLO & CICCHIELLO, LLP
                                                      364 Fra~n Avenue
                                                      Hartford, CT 06114
                                                      Phone: (860) 296-3457
                                                      Fax: (860) 296-0676
                                                      Juris:419987
                                                      Email: MMichaud@cicchielloesg.com




                                                  8                                   SCC - 0009
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                    EXHIBIT B
           Case 3:21-cv-00497-SALM Document 1 Filed 04/09/21 Page 15 of 18


                              Connecticut State Marshal
                                   Thomas A. Lyons
                                     P.O. Box 9285
                                Bridgeport, CT 06601
                      Phone/ Cell (203)-572-5010, Fax (203)-870-1403
STATE OF CONNECTICUT
                        SS:          Bridgeport            March 27, 2021
COUNTY OF Fairfield


                        Summons/Complaint/Amount in Demand

Case:                              Brittany Neal

                                         Vs

                                Specialty Cable Corp


      Then and there, by virtue hereof, I made service of the original
                     Summons/Complaint/Amount in Demand
    and by direction of Attorney Megan L Michaud, by leaving a true and
 attested copy of the thereof with the following person(s) at the address
                                 indicated:
Attempted Service: Specialty Cable Corp via agent for service Brian
O'Connor at 1 Atlantic St Stamford CT on March 24, 2021 .. Building closed
office moved, agent not found

Certified Mail, Secretary c/o Specialty Cable Corp 2 Tower Dr
Wallingford CT 06492 its principle office, served pursuant to CGS 33-663
Certified Mail# 7020 0090 0000 9580 4077 at US Post Office 120 Middle St
Bridgeport CT March 27, 2021



  The within is a true copy of the original w Summons/Complaint/Amount in
                   Demand with my doings hereon endorsed.




Cert Mail               7.20
Pages Attested:         9.00                         Attest :
Travel:                38.75
Service:               40.00
Endorsement:            2.00                             Thomas A. Lyon
Total             $ 96.95                      State Marshal , Fairfield County


                                                                          SCC - 0010
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                    EXHIBIT C
4/7/2021                 Case 3:21-cv-00497-SALM Document       1 Filed 04/09/21 Page 17 of 18
                                                 Case Detail - HHD-CV21-6140288-S

                         State of C ~ nnecticur Judici,ll Br.rnch                                                                ~
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  E-Servicas Home

  E-Services lnbox (5)              We are experiencing Issues completing credit card transactions for fliers using Safari browsers. At this
                                 time, If you are an attorney or firm using Safari as your browser, please either us e a different browser or pay
  Superior Court E-Filing        by check. Self-represented parties should also use a browser other than Safari ff possible or should file any
   Civil/Family                        cases or motions which require a fee on paper with the Court Clerk. Thank you for your patience.
   Housing
   Small Claims
                                 Attorney/Firm: ZANGARI COHN CUTHBERTSON DUHL & GRELLO P (011012)E-Mall: lkearse@zcclawflrm.com Logout
  E-File a New Case              e   HHD-CV21-6140288-S NEAL, BRITTNEYv. SPECIALTY CABLE CORP.
                                 Prefix: HD3                    Case Type: M90               File Date: 04/05/2021               Return Date: 04/20/2021
  E-File on an
                                 Case Detail             Notices        History       ·Exhibits        Scheduled Court Dates                            Help Manual
  Existing Case
   By Docket Number
   By Party Name                                                                                     To receive an email when there is activity on this case. click here.@
   list My Cases
                                                 The logged In Juris Number is not appearing on this case. Select "Go" to a-file an appearance.
  Court Events
   By Date                                                               Select Casa Activity:      E-File an Appearance v      ~
   By Juris Number
   By Docket Number              Information u       ated as of: 04/07/2021
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   Markings History
                                                         List Type:    No List Type
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   By Court Location t'}
                                                 Last Action Data:     04/05/2021 {The "lasl action date• is the date the information was entered in the system)
   Calendar Notices r9

  My Shopping Cart (0)                                                                    Disposition Information
  My E•Filed Items                              Disposition Date:
                                                    Disposition:
  Legal Notices IP                           Judge or Magistrate:

  Pending
  Foreclosure Sales @                                                                                                                       No
                                  Party                                                                                                     Fae   Party   Party Type
                                                                                                                                           Party Category
  Search By Property Address
                                  P-01     BRITTNEY NEAL                                                                                             Plaintiff     Person
                                              Attorney:   e CICCHIELLO & CtCCHIELLO LLP (419987) File Dale: 04/05/2021
                                                 I NEW    364 FRANKLIN AVENUE
                                                          HARTFORD, CT 06114

                                  0-01     SPECIALTY CABLE CORP.                                                                                    Defendant      Firm or
                                           Non-Appearing                                                                                                         Corporation


                                     Viewing Documents on Civil, Housing and Small Claims Casas:

                                     If there is an e in front of the docket number al the top of this page, then the file is electronic (paperless).


                                          • Documents, court orders and judicial notices in electronic (paperless) civil, housing and small claims cases with a return
                                            date on or after January 1, 2014 are available publicly over the internet.• For more information on what you can view in
                                            all cases, view the Electronic Access to Court Documents Quick Card.

                                          • For civil cases filed prior to 2014. court orders and judicial notices that are electronic are available publicly over the
                                            intemet. Orders can be viewed by selecting the link to the order from the list below. Notices can be viewed by clicking
                                            the Notices tab above and selecting the link.*

                                          • Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at any judicial district
                                            courthouse during normal business hours.*

                                          • Pleadings or other documents that are not electronic (paperless) can be viewed only during normal business hours at
                                            the Clerk's Office in the Judicial District where the case is located.*

                                          • An Affidavit of Debt is not available publicly over the internet on small claims cases filed before October 16, 2017.*


                                     •Any documents protected by law Or by court order that are Nol open lo the public cannot be viewed by the public online And
                                     can only be viewed in person at the clerk's office where the file is located by !hose authorized by law or court order to see them.
                                                                                                                                            SCC - 0011
https://efile.eservices.jud.ct.gov/CaseDetail/AttyCaseDetail.aspx?CRN=4486095                                                                                               1/2
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                                               Case Detail - HHD-CV21-6140288-S

                                                                    Motions / Pleadlngs / Documents / Case Status

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                                 100.30 04/05/2021 p        SUMMONS    13' l NEW                                                               No

                                 100.31 04/05/2021 p        COMPLAINT §)     t NEW                                                             No

                                 100.32 04/05/2021 p        RETURN OF SERVICE        sJ I NEW                                                  No



                                                                         Scheduled Court Dates as of 04106/2021
                                                          HHD-CV2141140288-S - NEAL, BRITTNEY v. SPECIALTY CABLE CORP.

                                   #    Date              Time            la:1nt D111irlRt!ml                                      Status

                                                                          No Events Scheduled


                                Judicial ADR events may be heard in a court that is different from the court where the case is filed. To check
                                location information about an ADR event, select the Notices tab on the top of the case detail page.

                                Matters that appear on the Short Calendar and Family Support Magistrate Calendar are shown as scheduled court
                                events on this page. The date displayed on this page is the date of the calendar.

                                All matters on a family support magistrate calendar are presumed ready to go forward.

                                The status of a Short Calendar matter is not displayed because it is detennined by markings made by the parties
                                as required by the calendar notices and the civil@ standing orders. Markings made electronically can be viewed by
                                those who have electronic access through the Markings History link on the Civil/Family Menu in E-Services.
                                Markings made by telephone can only be obtained through the clerk's office. If more than one motion is on a single
                                short calendar, the calendar will be listed once on this page. You can see more information on matters appearing
                                on Short Calendars and Family Support Magistrate Calendars by going to the Civil/family: Case Look-Up!jl page
                                and Short Calendars By: Juris Number@ or ~Y. Court Location@.

                                Periodic changes to terminology that do not affect the status of the case may be made.
                                This list does not constitute or replace official notice of scheduled court events.

                                Dlsclalmer: For civil and family cases statewide, case infonnation can be seen on this website for a period of time,
                                from one year to a maximum period of ten years, after the disposition date. If the Connecticut Practice Book
                                Sections 7-1 0 and 7-11 give a shorter period of time, the case information will be displayed for the shorter period.
                                Under the Federal Violence Against Women Act of 2005, cases for relief from physical abuse, foreign protective
                                orders, and motions that would be likely to publicly reveal the identity or location of a protected party may not be
                                displayed and may be available only at the courts.




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https:l/efile.eservlces.jud.ct.gov/CaseDetail/AttyCaseDetall.aspx?CRN=4486095
